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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                  x
                                                    :
UNITED STATES OF AMERICA                            :
                                                    :     CONSENT PRELIMINARY ORDER
               - v. -                               :     OF FORFEITURE/
                                                    :     MONEY JUDGMENT
KOWAN POOLE,                                        :
                                                    :     20 Cr. 003 (KPF)
                        Defendant.                  :
                                                    :
----------------------------------                  x

               WHEREAS, on or about January 2, 2020, KOWAN POOLE (the “Defendant”),

among others, was charged in a three-count Indictment, 20 Cr. 003 (KPF) (the “Indictment”), with

conspiracy to commit bank fraud and wire fraud, in violation of Title 18, United States Code,

Section 1349 (Count One); conspiracy to commit money laundering, in violation of Title 18,

United States Code, Section 1956(h) (Count Two); and aggravated identity theft, in violation of

Title 18, United States Code, Sections 1028A(a)(1) and (b) and 2 (Count Three);

               WHEREAS, the Indictment included a forfeiture allegation as to Count One,

seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section

982(a)(2)(A), of any and all property constituting, or derived from proceeds the Defendant

obtained directly or indirectly, as a result of the commission of the offense charged in Count One

of the Indictment, including but not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission of the offense charged in Count

One of the Indictment;

               WHEREAS, the Indictment included a second forfeiture allegation as to Count

Two, seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section

982(a)(1), of any and all property, real and personal, involved in the offense charged in Count Two

of the Indictment, or any property traceable to such property, including but not limited to a sum of
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money in United States currency representing the amount of property involved in the offense

charged in Count Two of the Indictment;

               WHEREAS, on or about November 6, 2020, the Defendant pled guilty to Count

One of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant

admitted the forfeiture allegation with respect to Count One and agreed to forfeit to the United

States, pursuant to, inter alia, Title 18, United States Code, Section 982(a)(2)(A), a sum of money

equal to $134,460 in United States currency, representing proceeds traceable to the commission of

the offense charged in Count One of the Indictment; and

               WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $134,460 in United States currency representing the amount of proceeds traceable to

the offense charged in Count One of the Indictment that the Defendant personally obtained, for

which the Defendant is jointly and severally liable with co-defendants Farouk Kukoyi, Anthony

Lee Nelson, and Joshua Hicks, to the extent a forfeiture money judgment is entered against Farouk

Kukoyi, Anthony Lee Nelson, and Joshua Hicks; and

               WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offense charged in Count One of the Indictment that the

Defendant personally obtained cannot be located upon the exercise of due diligence.

               IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorney, Alexander Li of counsel, and the Defendant, and his counsel, Lloyd Epstein, Esq., that:

               1.     As a result of the offenses charged in Count One of the Indictment, to which

the Defendant pled guilty, a money judgment in the amount of $134,460 in United States currency

(the “Money Judgment”), representing the amount of proceeds traceable to the offense charged in
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Count One of the Indictment that the Defendant personally obtained, shall be entered against the

Defendant, for which the Defendant is jointly and severally liable with co-defendants Farouk

Kukoyi, Anthony Lee Nelson, and Joshua Hicks, to the extent a forfeiture money judgment is

entered against Farouk Kukoyi, Anthony Lee Nelson, and Joshua Hicks.

               2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, KOWAN

POOLE, and shall be deemed part of the sentence of the Defendant, and shall be included in the

judgment of conviction therewith.

               3.      All payments on the outstanding money judgment shall be made by

postal money order, bank or certified check, made payable, in this instance, to the United States

Department of Treasury, and delivered by mail to the United States Attorney’s Office, Southern

District of New York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One

St. Andrew’s Plaza, New York, New York 10007 and shall indicate the Defendant’s name and

case number.

               4.      The United States Department of Treasury or its designee shall be

authorized to deposit the payment on the Money Judgment in the Treasury Assets Forfeiture Fund,

and the United States shall have clear title to such forfeited property.

               5.      Pursuant to 21 U.S.C. § 853(p), the United States is authorized to seek

forfeiture of substitute assets of the Defendant up to the uncollected amount of the Money

Judgment.

               6.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
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or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               7.     The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

               8.     The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.




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